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MORRISON & FOERSTER LLP
1290 Avenue of the Americas
New York, New York 10104
Telephone: (212) 468-8000
Facsimile: (212) 468-7900
Gary S. Lee
Todd M. Goren
Jennifer L. Marines
Melissa M. Crespo

Counsel for the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                     )
    In re:                                           )      Case No. 12-12020 (MG)
                                                     )
    RESIDENTIAL CAPITAL, LLC, et al.,                )      Chapter 11
                                                     )
                                     Debtors.        )      Jointly Administered
                                                     )


                             NOTICE OF FILING OF
FORM OF MORTGAGE LOAN PURCHASE AND INTERIM SERVICING AGREEMENT
 AND AMENDED EXHIBITS TO DEBTORS’ MOTION PURSUANT TO 11 U.S.C. §§ 105,
   363(B), (F) AND (M) AND FED. R. BANKR. P. 2002, 6004 AND 9007 FOR ORDERS:
(A)(I) AUTHORIZING AND APPROVING SALE PROCEDURES; (II) SCHEDULING BID
    DEADLINE AND SALE HEARING; (III) APPROVING FORM AND MANNER OF
         NOTICE THEREOF; AND (IV) GRANTING RELATED RELIEF AND
 (B)(I) AUTHORIZING THE SALE OF CERTAIN FHA LOANS FREE AND CLEAR OF
  LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS; (II) AUTHORIZING
   AND APPROVING MORTGAGE LOAN PURCHASE AND INTERIM SERVICING
                AGREEMENT; AND (III) GRANTING RELATED RELIEF


             PLEASE TAKE NOTICE THAT on January 2, 2013, the debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors”)1 filed the Motion Pursuant


1
  The names of the Debtors in these cases and their respective tax identification numbers are identified on Exhibit 1
to the Affidavit of James Whitlinger, Chief Financial Officer of Residential Capital, LLC in Support of the Chapter
11 Petitions and First Day Pleadings [Docket No. 6].


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to 11 U.S.C. §§ 105, 363(b), (f) and (m) and Fed. R. Bankr. P. 2002, 6004 and 9007 for Orders:

(A)(I) Authorizing and Approving Sale Procedures; (II) Scheduling Bid Deadline and Sale

Hearing; (III) Approving Form and Manner of Notice Thereof; and (IV) Granting Related Relief

and (B)(I) Authorizing the Sale of Certain FHA Loans Free and Clear of Liens, Claims,

Encumbrances and Other Interests; (II) Authorizing and Approving Mortgage Loan Purchase

and Interim Servicing Agreement; and (III) Granting Related Relief (the “Motion”) [Docket No.

2544].

         PLEASE TAKE FURTHER NOTICE THAT in connection with the Motion, the

Debtors hereby submit the form of Mortgage Loan Purchase and Interim Servicing Agreement,

attached hereto as Exhibit 1.

         PLEASE TAKE FURTHER NOTICE THAT the Debtors hereby submit the following

proposed amended orders (the “Amended Orders”) to the Motion:

             (i) Amended Proposed Order Under 11 U.S.C. §§ 105 and 363 (I) Authorizing and

                Approving Sale Procedures; (II) Scheduling Bid Deadline and Sale Hearing; and

                (III) Establishing Noticed Procedures and Approving Forms of Notice (the

                “Amended Sale Procedures Order”), filed in connection with the Motion and

                attached to the Motion as Exhibit 1 and attached hereto as Exhibit 2. A

                comparison of the Sale Procedures Order as attached to the Motion and the

                Amended Sale Procedures Order is attached hereto as Exhibit 3.

             (ii) Amended Proposed Order Under 11 U.S.C. §§ 105 and 363, and Fed. R. Bankr. P.

                2002 and 6004 (I) Approving (A) Sale of Debtors’ FHA Loans Pursuant to

                Mortgage Loan Purchase and Interim Servicing Agreement; (B) Sale of FHA

                Loans Free and Clear of Liens, Claims, Encumbrances, and Other Interests; and




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              (II) Granting Related Relief (the “Amended Sale Approval Order”), filed in

              connection with the Motion and attached to the Motion as Exhibit 2 and attached

              hereto as Exhibit 4. A comparison of the Sale Approval Order as attached to the

              Motion and the Amended Sale Approval Order is attached hereto as Exhibit 5.

Dated: January 15, 2013
       New York, New York

                                                  /s/ Gary S. Lee
                                                  Gary S. Lee
                                                  Todd M. Goren
                                                  Jennifer L. Marines
                                                  Melissa M. Crespo
                                                  MORRISON & FOERSTER LLP
                                                  1290 Avenue of the Americas
                                                  New York, New York 10104
                                                  Telephone: (212) 468-8000
                                                  Facsimile: (212) 468-7900

                                                   Counsel for the Debtors and
                                                   Debtors in Possession




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